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 4
     Attorney for: MICHAEL LEON W ILLIAMS
 5

 6                          IN THE UNITED STATES DISTRICT COURT

 7                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                          )    No. CR-S-09-196 GEB
                                                        )
10                          Plaintiff,                  )
                                                        )    STIPULATION AND ORDER
11             vs.                                      )    MODIFYING PRETRIAL
                                                        )    RELEASE CONDITIONS
12   MICHAEL LEON W ILLIAMS, et. al.                    )
                                                        )
13                          Defendant.                  )
                                                        )
14

15             Defendants: MICHAEL LEON W ILLIAMS, through his attorney, PETER

16   KMETO, and the United States of America, through its counsel of record, SEAN C.

17   FLYNN, stipulate and agree to the following:

18             1. The Pretrial Release Conditions of Defendant, MICHAEL LEON

19             W ILLIAMS, be modified by removing the condition requiring drug testing;

20             2. The defendant, upon his initial court appearance, was ordered to submit
21             to drug testing as a pretrial release condition. He has complied with said
22             condition without incident. Defendant has recently under gone surgery
23             making it exceedingly difficult to offer a test specimen. Pretrial Services is of
24             the opinion that the testing condition is unnecessary. Accordingly, the parties
25             stipulate that drug testing be removed as a pretrial release condition.
26
     /// ///
27
     /////
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         Case 2:09-cr-00196-KJM Document 36 Filed 01/07/10 Page 2 of 2
 1          IT IS SO STIPULATED.
 2
     Dated:    January 6, 2010                          /s/ SEAN C. FLYNN
 3                                                     Assistant U.S. Attorney
 4                                                     for the Government

 5

 6   Dated:    January 6, 2010                          /s/ PETER KMETO
                                                       Attorney for Defendant
 7
                                                       MICHAEL LEON W ILLIAMS
 8

 9
                                                ORDER
10

11                 UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is

12   ordered that drug testing be removed as a pretrial release condition as to

13   defendant, MICHAEL LEON W ILLIAMS.

14   DATED: January 7, 2010.

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